Case 2:15-cv-00998-JRG-RSP Document 50 Filed 12/04/15 Page 1 of 3 PageID #: 249




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 DISPLAY TECHNOLOGIES, LLC,

                     Plaintiff,                   Civil Action No. 2:15-CV-998-JRG-RSP

        v.                                                      LEAD CASE

 NVIDIA CORPORATION,

 VALVE CORPORATION,
                                                     Civil Action No. 2:15-cv-999-JRG-RSP
                    Defendants.

     JOINT MOTION TO STAY ALL DEADLINES AND NOTICE OF SETTLEMENT

        Plaintiff, Display Technologies, LLC and Defendant Valve Corporation (collectively

 “The Parties”) hereby submit this motion and provide notice to the Court pursuant to the Court’s

 Standing Order Regarding Proper Notification of Settlement to the Court. The Parties have

 reached a settlement in principle of this matter. Specifically, all matters in controversy between

 the Parties have settled in principle.

        In furtherance of the Parties’ agreement, the Parties jointly move the Court for a

 temporary stay of all pending deadlines as to Display and Valve in the Court’s Docket Control

 Order (Dkt. No. 37) for a period of thirty (30) days so that appropriate dismissal papers may be

 submitted.




                                                 1
Case 2:15-cv-00998-JRG-RSP Document 50 Filed 12/04/15 Page 2 of 3 PageID #: 250




 Dated: December 4, 2015                   PILLSBURY WINTHROP SHAW
                                           PITTMAN LLP

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                                       2
Case 2:15-cv-00998-JRG-RSP Document 50 Filed 12/04/15 Page 3 of 3 PageID #: 251




                               CERTIFICATE OF CONFERENCE

        I hereby certify that this I have been authorized by counsel for Plaintiff to add their

 signature and make this joint filing.

                                                   /s/ Edward A. Cavazos
                                                   Edward A. Cavazos


                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that counsel of record who are deemed to have

 consented to electronic service are being served with a copy of the foregoing via the Court’s

 CM/ECF system per Local Rule CV-5(a)(3) on December 4, 2015.

                                                   /s/ Edward A. Cavazos
                                                   Edward A. Cavazos




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